                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:14-cr-00229-MOC-DCK

 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )
 Vs.                                             )                       ORDER
                                                 )
 JAMELL LAMON CURETON,                           )
                                                 )
                  Defendant.                     )



       THIS MATTER is before the court on defendant’s pro se Motion or Letter which concerns

the search of his jail cell. Review of the pleadings reveals that defendant is represented by counsel.

Local Criminal Rule 47.1 provides, as follows:

               (H) Pro Se Motions Filed By Criminal Defendants Who Have Not
       Waived Their Right To Counsel. Except for challenges to the effective assistance
       of counsel, the Court will not ordinarily entertain a motion filed by a criminal
       defendant who is still represented by counsel and has not formally waived his or
       her right to counsel in the presence of a judicial officer after being fully advised of
       the consequences of waiver. Exceptions to this general rule may be made in the
       discretion of the judicial officer considering the pro se motion.

L.Crim.R. 47.1(H).     Defendant is advised that such rule is not in place to avoid issues, but to

protect the accused’s right to remain silent and right to counsel. By filing such letter with the

court, defendant has placed on the record a statement which may (or may not) be used against him

by the prosecution. Further, such motion/letter reveals what were confidential communications

with his attorney, to wit, “[s]he has told me that....” Defendant should direct any concerns to his

attorney who can file motions and briefs on his behalf.      Having considered defendant’s pro se

motion and reviewed the pleadings, the court enters the following Order.




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                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se Motion or Letter which

concerns the search of his jail cell (#96) is DENIED WITHOUT PREJUDICE as to any motion

counsel may file on defendant’s behalf.




 Signed: April 29, 2015




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